

People v DiValentino (2018 NY Slip Op 07448)





People v DiValentino


2018 NY Slip Op 07448


Decided on November 7, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 7, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RUTH C. BALKIN, J.P.
LEONARD B. AUSTIN
SANDRA SGROI
HECTOR D. LASALLE, JJ.


2015-05061
 (Ind. No. 11-00093)

[*1]The People of the State of New York, respondent,
vAnthony DiValentino, appellant. Anthony DiValentino, Stormville, NY, appellant pro se.


David M. Hoovler, District Attorney, Middletown, NY (Andrew R. Kass of counsel), for respondent.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated October 18, 2017 (People v DiValentino, 154 AD3d 872), affirming a judgment of the County Court, Orange County, rendered March 30, 2015.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
BALKIN, J.P., AUSTIN, SGROI and LASALLE, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








